Case 24-11131-LSS Doc1 Filed 05/31/24 Page 1 of 8

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United States Bankruptcy Court for the:
DISTRICT OF DELAWARE

Case number (if known) Chapter 7

(LL) Check if this an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, instructions for Bankruptcy Forms for Non-individuals, is available.

4. Debtor's name Common Management Co.

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

3. Debtor's federal
Employer Identification XX-XXXXXXX

Number (EIN)
4. Debtor's address Principal place of business Mailing address, if different from principal place of
business
12 East 49th Street
Suite 08-125
New York, NY 10017
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
New York Location of principal assets, if different from principal
County place of business
Number, Street, City, State & ZIP Code
5. Debtor's website (URL)
6. Type of debtor Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)}

(] Partnership (excluding LLP)
Cc Other. Specify:

Official Form 204 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
Case 24-11131-LSS Doc1 Filed 05/31/24 Page 2 of 8

Debtor = Common Management Co.

Case number (if known)

Name

7. Describe debtor's business A. Check ane:

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Assat Real Estate (as defined in 11 U.S.C. § 101(51B))

Stockbroker (as defined in 11 U.S.C. § 101(53A))}
Commodity Broker (as defined in 11 U.S.C. § 101(6})

Cl
LJ
{] Railroad (as defined in 11 U.S.C. § 101(44))
O
CL)
Cj

Clearing Bank (as defined in 11 U.S.C. § 781(3))
LX] None of the above

B. Check ail that apply
CO Tax-exempt entity (as described in 26 U.S.C. §501)

CJ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
C Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
htip://wwew.uscourts .qov/four-digit-national-association-naics-codes.

8. Under which chapter of the Check one:

Bankruptcy Code is the
debtor filing? I Chapter 7
A debtor who is a “small C1 Chapter 9

business debtor must check C Chapter 11. Cheek aff that apply:

the first sub-box. A debtor as
defined in § 1182(1) who
elects to proceed under
subchapter V of chapter 11
(whether or not the debtor is
a “small business debtor”)

O

O

C
O

O

oO

The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
$3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not
exist, follow the procedure in 11 U.S.C. § 1116(1}(B).

The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

Acceptances of the plan were solicited prepetition fram one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-individuals Filing for Bankruptcy under Chapter 77
(Official Form 201A) with this form.

The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

must check the second
sub-box.
oO Chapter 12
9. Were prior bankruptcy PX] No.

cases filed by or against

the debtor within the last 8 UO i

years?

If more than 2 cases, attach a

separate list. District
District

When Case number

When Case number

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case 24-11131-LSS Doc1 Filed 05/31/24 Page 3 of 8

Debtor Common Management Co.

Case number (if known)

Name

10. Are any bankruptcy cases

pending or being filed by a

business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list

[]No See Attachment

& Yes.

Debtor Relationship

District When Case number, if known

11. Why is the case filed in
this district?

Check aiff that apply:

® Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

OJ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

L] Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check aif that apply.}

_] It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

C {t needs to be physically secured or protected from the weather.

Oo It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

CT Other

Where is the property?

Number, Street, City, State & ZIP Coda
Is the property insured?

LI No

_] Yes. insurance agency

Contact name

Phone

[ Statistical and administrative information

13. Debtor's estimation of
available funds

Chack one:
O Funds will be available for distribution to unsecured creditors.

X After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of LJ 1,000-5,000 CT 25,001-50,000
creditors [_] so-99 (] s001-10,000 ] 50,001-100,000

_] 100-199 (] 10,001-25,000 [J More than100,000
Bx] 200-999

15. Estimated Assets C) $0 - $50,000 BX] $1,000,001 - $10 million [_] $500,000,003 - $1 billion
J $50,001 - $100,000 J $10,000,001 - $50 million [_] $1,000,000,001 - $10 billion
(_] $100,001 - $500,000 [J $50,000,001 - $100 million [_] $10,000,000,001 - $50 billion
[_] $500,001 - $1 million (_] $100,000,001 - $500 million [_] More than $50 bition

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
Case 24-11131-LSS Doc1 Filed 05/31/24 Page 4 of 8

Dabter Common Management Co. Case number (i known)
Name
16. Estimated labilities (1 $0 - $50,000 [7] $1,000,001 - $10 million [_] $800,000,001 - $1 billion

C1 $50,001 - $100,000
LJ $100,001 - $500,000
) $500,001 - $1 milion

$10,000,001 -$50 million
(] $80,000,004 - $100 million
(J $10,000,001 - $500 million

[_] $1,000,000,001 - $10 billion
3 $10,000,000,001 - $50 bition
O More than $50 billlon

na Request for Retief, Declaration, and Signatures

WARNING -- Bankruptcy fraud Is a serious crime. Making a fatse statement in connection with a bankruptcy case can resull In fines up to $500,000 or

imprisonment for up to 20 years, or both. 18 U.S.C. §§ 182, 1341, 1519, and 3571.

17. Declaration and signature
of authorized
representative of debtor

x

The debtor requests retief in accordance with the chapter of title 11, United States Code, specified In this petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined tha information in this petition and have a reasonable belief that the information is true and correct.

1 declare under penalty of perjury that the foregoing is true and correct.

Executedon May 31, 2024 A
MM /DD/
Luca Bovone

Title Director

Signature of my debtor

Printed name

18. Signature of attorney

Official Form 201

X ist Daniel K. Astin

Signature of attorney for debtor

Daniel K. Astin

Date May 31, 2024

MM / DDI YYYY

Printed name

Ciardi Ciardi and Astin

Firm name

1204 N. King Street
Wilmington, DE __ 19801

Number, Street, City, State & ZIP Code

Contact phone 302-658-1100 Email address

4068 DE

dastin@ciardilaw.com

Bar number and State

Votuntary Petition for Non-individuals Filing for Bankruptcy

page 4
Case 24-11131-LSS Doc1 Filed 05/31/24 Page 5of8

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

VOLUNTARY PETITION FOR NON-INDIVIDUALS FILING FOR BANKRUPTCY

10, Are any bankruptcy cases pending or being

filed by a business partner or an affiliate

of the debtor?
Common Living Inc. 12 East 49th St Suite 08-125 New York, NY 10017 FEIN XX-XXXXXXX
CLI Cypress LLC 850 New Burton Road Suite 201, Dover, DE 19904 FEIN XX-XXXXXXX
Common TRS Inc. 850 New Burton Road, Suite 201, Dover, DE 19904 FEIN XX-XXXXXXX
Common Kin LLC 850 New Burton Road, Suite 201, Dover, DE 19904 FEIN XX-XXXXXXX
Mily Families Inc. 12 East 49th St Suite 08-125 New York, NY 10017 FEIN XX-XXXXXXX
CLI Elmwood LLC 850 New Burton Road, Suite 201, Dover, DE 19904 FEIN XX-XXXXXXX
Common Management Co. 12 East 49th St Suite 08-125 New York, NY 10017 FEIN XX-XXXXXXX

CLI Clifton LLC 850, Suite 201, New Burton Road, Dover, DE 19904 FEIN XX-XXXXXXX
Case 24-11131-LSS Doc1 Filed 05/31/24 Page 6 of 8

COMMON MANAGEMENT CO.

ACTION BY WRITTEN CONSENT OF THE
AUTHORIZED OFFICER OF COMMON MANAGEMENT CO.

CONSENT DATED THE 31 DAY OF MAY 2024

Pursuant to Section 121, et seq. of the General Corporation Law of Delaware, the
undersigned (the “Authorized Officer”), constituting the authorized officer of Common
Management Co., a Delaware corporation (the “Company”), hereby consents to the following
actions, to the same extent as if adopted by a vote at a formal meeting of the directors of the
Company, waive any notice required in connection therewith, and direct that this Written Consent
of the Directors in Lieu of Meeting (this “Consent’’) be placed with the records of the meetings of
the Company.

WHEREAS, the Board of Directors of the Company (the “Directors”) have considered the
financial and operational aspects of the Company’s business, and the financial and operational
aspects the Company’s business; and

WHEREAS, the Directors have reviewed the historical performance, assets and liabilities
of the Company; and

WHEREAS, the Directors and intend for the Company to file a voluntary petition under
the provisions of chapter 7 (the “Bankruptcy Proceedings”) of title 11 of the United States Code
(the “Bankruptcy Code”);

WHEREAS, the Directors have reviewed and considered the Company’s options and the
recommendations of professionals and advisors to the Company as to the proposed liquidation to
be implemented during the course of the Bankruptcy Proceedings.

NOW, THEREFORE, IT IS HEREBY RESOLVED:

1. It is desirable and in the best interests of the Company, its creditors, and other
interested parties, that a voluntary petition be filed by the Company under the provisions of chapter
7 of the Bankruptcy Code.

2. The Directors are directed, authorized and empowered to execute and file on behalf
of the Company all petitions, schedules, lists, affidavits and other papers or documents, and to take
any and all action which it deems necessary or proper to obtain such relief, if, in the judgment of
the Company, the Company is adequately prepared prior to such filings.

3. The Directors are directed, authorized and empowered to employ on behalf of the
Company, Ciardi Ciardi & Astin, a law firm with experience and expertise in workouts, non-
bankruptcy liquidations and reorganizations, and bankruptcy liquidations and reorganizations.
Case 24-11131-LSS Doc1 Filed 05/31/24 Page 7 of 8

4, The Directors are directed, authorized and empowered, in the name of, and on
behalf of the Company, to take or cause to be taken any and all such other and further action, and
to execute, acknowledge, deliver and file any and all such instruments as each in his discretion,
may deem necessary or advisable to carry out the purpose and intent of the foregoing resolutions.

5. All of the acts and transactions of management and the Directors of the Company
which relate to matters contemplated by the foregoing resolutions that have been undertaken in the
name and on behalf of the Company prior to the effective date of these resolutions, are hereby in
all respects approved, confirmed and ratified.

This consent may be executed in counterparts and all so executed shall constitute one
consent and be deemed an original. Facsimile transmissions of the signature provided for below
may be relied upon and shall have the same force and effect as the original of such signature.

This consent to action is effective as of May 31, 2024.

IN WITNESS WHEREOF, the undersigned in his/her capacity as a Authorized Officer has
executed this written consent as of the day first written above.

[Signature lines on next page — space intentionally left blank]
Case 24-11131-LSS Doc1

COMMON MANAGEMENT CO.

Kee Sevone

By: Luca Bovone

Its: Director

Filed 05/31/24 Page 8of8
